                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              CENTRAL DIVISION

                                      MINUTE SHEET

MARY HOLMES, et al.,                               Date: March 10, 2025


        vs.                                         Case No. 2:22-cv-04026-MDH

ROBERT KNODELL



Honorable Douglas Harpool, presiding at Jefferson City, Missouri

Nature of Hearing: Oral Argument on Motions for Summary Judgment

Time Commenced: 9:34 a.m.                   Time Terminated: 11:50 a.m.

                                       APPEARANCES

Plaintiff:
       Katharine Deabler-Meadows
       Lisa Joy D’Souza
Defendant:
       Michael Pritchett
       Hardin Haynes


Proceedings: Parties appear as indicated. Oral arguments presented on Motions for Summary
Judgment (Doc. 161). Parties directed to change the headings of documents to correctly identify
new division/department heads. Cause taken under advisement.


COURTROOM DEPUTY: Tania Lock/Melissa Warren
COURT REPORTER: Jeannine Rankin
LAW CLERK: Kristen Roubal




      Case 2:22-cv-04026-MDH          Document 216        Filed 03/10/25     Page 1 of 1
